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7th May 2022


Judge Amy Berman Jackson




Dear Judge Berman Jackson,


       Your honor, I am writing this letter in reference to my co-worker and

best friend Dennis Sidorski.

       Dennis has openly admitted to anyone that will listen that he made a

terrible decision on the afternoon of January 6th, 2021.

       My friend knows he has no one to blame but himself and has to pay

his debt to society. Dennis has paid a price for his actions and understands he

has more to do to get things right with his family and friends and this country

that he loves.

       Dennis comes from a family of law enforcement officers. His recently

deceased father was a sheriff in New Jersey for 30-plus years. His brother is a

detective with the new Jersey state police. His family accepted that Dennis

made a terrible decision and is supporting him through the ordeal until the

end.

       Dennis has paid a heavy price for his admitted poor decision. He lost

his job as an operations manager at ADEASA WASHINGTON DC. Dennis
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worked for ADESASA for 22 years and was highly recognized for his

outstanding work ethic and commitment to his team and all the employees at

ADEASA.

       I was the General Sales Manager with ADEASA WASHINGTON DC

and got to witness firsthand his ability to lead by example.

Dennis showed compassion for several employees that were going through

tough times. I have personally witnessed him helping to keep lights on and

food in the refrigerator for several workers and their families.

       Since losing his position at ADEASA, Dennis has had to move on with

his life and has taken a position in the Maintenance Department at Bowling

Green Country Club in Front Royal, Virginia. He is doing an excellent job.

For reference, I also have taken the position of Assistant General Manager at

Bowling Green Country Club. Dennis has shown nothing but gratitude and

leadership.

        Now that we are at the moment of truth: I would like to state that Mr.

Sidorski still loves his country and has figured out how best to show that

support growing forward.

       Your honor in your final sentencing please know Dennis has fully

admitted his mistakes and bad judgment. He wants to continue to grow and

never return to this type of situation again. Dennis will have support during

and after this time passes. Thank you for taking the time to listen your honor.

God bless you and our legal system.


               Respectfully,

               Edward K. Burton
